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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         Chapter 11
    In re:
                                                         Case No. 23-11069 (CTG)
    YELLOW CORPORATION, et al.,1
                                                         (Jointly Administered)
                             Debtors.
                                                         Re: Docket No. 761



                         NOTICE OF RATE INCREASE OF
            HURON CONSULTING SERVICES LLC AS FINANCIAL ADVISOR
           TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
         YELLOW CORPORATION, ET AL., NUNC PRO TUNC TO AUGUST 21, 2023

             1.    Pursuant to the Order Authorizing the Official Committee of Unsecured Creditors

of Yellow Corporation, et al. to Retain and Employ Huron Consulting Services LLC, Nunc Pro

Tunc to August 21, 2023 [Docket No. 761] (the “Retention Order”),2 Huron Consulting Services

LLC (“Huron”), as financial advisor to the Official Committee of Unsecured Creditors, submits

this notice of rate increase.

             2.    As set forth in the Application, Huron’s hourly rates are subject to periodic

adjustments (typically on January 1st of each year) to reflect economic and other conditions. See

Application, ¶ 15.

             3.    Paragraph 9 of the Retention Order provides that Huron shall provide ten (10)

business days’ notice to the Committee, the Debtors and the U.S. Trustee before any increases in

the rates set forth in the Application are implemented and shall file a notice setting forth any such




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Retention Order.
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increases with the Court.

       4.      In the ordinary course, Huron has adjusted the hourly rates charged by its

professionals. Effective as of January 1, 2024, the standard hourly rate ranges established by

Huron for employed professionals are as set forth below:

                            Billing Category         2024 Range

                            Managing Director       $1,025 - $1,400
                             Senior Director            $975
                                Director             $750 - $850
                                Manager                  $650
                                Associate                $550
                                 Analyst                 $400



 Dated: December 12, 2023
 Wilmington, Delaware

 BENESCH, FRIEDLANDER,                                 AKIN GUMP STRAUSS HAUER & FELD
     COPLAN & ARONOFF LLP                              LLP

 /s/ Jennifer R. Hoover                                Philip C. Dublin (pro hac vice)
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 Counsel to the Official Committee of Unsecured Creditors




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